      Case 1:20-cr-00609-JPC Document 6 Filed 11/13/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          X

UNITED STATES OF AMERICA                             INFORMATION

           - v. -                                    20 Cr.

DANIEL SPIEGELMAN,
     a/k/a "Daniel Spiegelmann,"
     a/k/a "Craig Wallace,"
     a/k/a "Mark Sher,"
     a/k/a "David Toresen,"
     a/k/a "Marc Sher,"
     a/k/a "Andrew Minkovski,"
     a/k/a "Nathaniel Toresen,"
     a/k/a "Daniel Kikabidze,"

                    Defendant.
                                          X

                                  COUNT ONE

                                   (Escape)

     The Acting United States Attorney charges:

     On or about October 4, 2012, in the Southern District of New

York, DANIEL SPIEGELMAN, a/k/a "Daniel Spiegelmann," a/k/a "Craig

Wallace," a/k/a "Mark Sher," a/k/a "David Toresen," a/k/a                "Marc

Sher," a/k/a "Andrew Minkovski," a/k/a "Nathaniel Toresen," a/k/a

"Daniel   Kikabidze,"    the     defendant,   knowingly   did   escape     and

attempt to escape from the custody of the Attorney General and his

authorized representative, and from an institution and facility in

which he was confined by direction of the Attorney General,                and

from custody under and by virtue of process issued under the laws

of the United States by a court,        judge, and magistrate judge, and
         Case 1:20-cr-00609-JPC Document 6 Filed 11/13/20 Page 2 of 3




from the custody of an officer and employee of the United States

pursuant to lawful arrest,       which custody and confinement was by

virtue of a conviction of an offense, to wit, SPIEGELMAN, while in

the custody of the Bronx Residential Re-Entry Center ("Bronx RRC")

located at 2534 Creston Avenue in the Bronx, New York,             following

a conviction in the United States District Court for the Southern

District of New York for bank fraud,         in violation of 18 U.S. C.

§§   1344 and 2, aggravated identity theft, in violation of 18 U.S.C.

§    1028A, and possession of five or more identification documents

and    false   identification   documents,   in   violation   of   18   U.S. C.

§ 1028(a) (3),    left the Bronx RRC without authorization and failed

to return.

      (Title 18, United States Code, Sections 751 (a) and 4082 (a).)




                                          ~~
                                          AUDREY ST ASS
                                          ~ d States Attorney




                                      2
Case 1:20-cr-00609-JPC Document 6 Filed 11/13/20 Page 3 of 3




          Form No. USA-33s-274     (Ed.   9-25-58)




             UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA

                            v.

                   DANIEL SPIEGELMAN,

                                          Defendant.


                       INDICTMENT

                          20 Cr.

                (18 U.S.C. §§ 751(a) and
                        4082 (a).)

                   AUDREY STRAUSS
            Acting United States Attorney
